
63 So. 3d 130 (2011)
In re Timmy James FONTENOT.
No. 2011-B-0989.
Supreme Court of Louisiana.
June 17, 2011.
PER CURIAM.[*]
The Office of Disciplinary Counsel ("ODC") commenced an investigation into allegations that respondent neglected a legal matter, failed to communicate with a client, charged an excessive fee, and made misrepresentations. Following the filing of formal charges, respondent and the Office of Disciplinary Counsel ("ODC") submitted a joint petition for consent discipline. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Timmy James Fontenot, Louisiana Bar Roll number 23738, be suspended from the practice of law for a period of one year. This suspension shall be deferred in its entirety, subject to respondent's successful completion of a two-year period of supervised probation. The probationary period shall commence from the date respondent, the probation monitor, and the ODC execute a formal probation plan. Any failure of respondent to comply with the conditions of probation, or any misconduct during the probationary period, may be grounds for making the deferred suspension executory, or imposing additional discipline, as appropriate.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance *131 with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court's judgment until paid.
NOTES
[*]  Chief Justice Kimball not participating in the opinion.

